Case 22-01109-MBK         Doc 3    Filed 04/26/22 Entered 04/26/22 14:04:06            Desc Main
                                   Document     Page 1 of 2



UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
BROEGE, NEUMANN, FISCHER & SHAVER, LLC
Timothy P. Neumann, Esq. [TN6429]
Geoffrey P. Neumann, Esq. [059702019]
25 Abe Voorhees Drive
Manasquan, New Jersey 08736
(732) 223-8484
Attorneys for the Debtors-in-Possession/Plaintiffs
George Sariotis and Cindy Sariotis


 In Re:                                                        Case No.: 22-12916/MBK

 GEORGE SARIOTIS AND CINDY SARIOTIS,                           Chapter 11

     Debtors.                                                  Judge: Michael B. Kaplan



 GEORGE SARIOTIS AND CINDY SARIOTIS,

     Plaintiffs,                                               Adv. Pro. No. 22-1109

          v.

 THALIA SARIOTIS, ELLYNN WETTER and RYAN
 WETTER,

     Defendants.


                          MOTION FOR SUMMARY JUDGMENT

          PLEASE TAKE NOTICE that the undersigned attorneys for the Plaintiffs in the within

adversary proceeding will move before the Honorable Michael B. Kaplan, United States

Bankruptcy Court, 402 East State Street, Trenton, New Jersey for an order granting summary

judgment and determining that the Plaintiff enforcing the section 363 (h) of the Bankruptcy Code

by: (a) entry of a judgment divesting title in the prospective purchasers of the Redwood Avenue

Property; (b) expressly authorizing and empowering Plaintiffs to sign the deed, affidavit of title,

and all ancillary documents on behalf of Defendants and that decreeing that such signatures will
Case 22-01109-MBK        Doc 3    Filed 04/26/22 Entered 04/26/22 14:04:06           Desc Main
                                  Document     Page 2 of 2



be as legally binding and have the same force and effect as if signed by the Defendants, and (c)

Defendants must vacate the premises not later than September 30, 2022.

       PLEASE TAKE FURTHER NOTICE that the undersigned shall rely upon the

accompanying Memorandum of Law in support of said motion.




                                            Broege, Neumann, Fischer & Shaver, LLC
                                            Attorneys for the Debtors-in-Possession/Plaintiffs
                                            George Sariotis and Cindy Sariotis




Dated: April 25, 2022                       By: /s/ Geoffrey P. Neumann
                                                    GEOFFREY P. NEUMANN
